Case 8:20-cv-03143-GLS Document3 Filed 10/29/20 Page 1 of 27

IN THE CIRCUIT COURT FOR MONTGOMERY COUNTY, MARYLAND

AARON IFALOLA TAYLOR,
11616 Lockwood Drive, Apt. T3
Silver Spring, MD 20904

Plaintiff,
vs.

MONTGOMERY COUNTY, MARYLAND,
Serve: Mare Elrich, County Executive
Executive Office Building
101 Monroe Street
Rockville, Maryland 20850

and

OFFICER SERLO #2908

Individually and in his official capacity as
a Montgomery County police officer
Montgomery County Police Department
100 Edison Park Drive

Gaithersburg, Maryland 20878

and

DETECTIVE PARIS CAPALUPO #2086
Individually and in his official capacity as
a Montgomery County police detective
Montgomery County Police Department
100 Edison Park Drive

Gaithersburg, Maryland 20878

and

OFFICER WASHINGTON

Individually and in his or her official capacity as
a Montgomery County police officer
Montgomery County Police Department

100 Edison Park Drive

Gaithersburg, Maryland 20878

and

 

*Jury Trial Demanded*

Civil Case No. US4 63 V

RECEIVED

SEP 23 2020

Clerk of the Circuit Court
Montgomery County, Md.

DROP BOX
Case 8:20-cv-03143-GLS Document3 Filed 10/29/20 Page 2 of 27

OFFICER FOX

Individually and in his or her official capacity as
a Montgomery County police officer
Montgomery County Police Department

100 Edison Park Drive

Gaithersburg, Maryland 20878

and

SERGEANT MCDANNELL

Individually and in his or her official capacity as
a Montgomery County police officer
Montgomery County Police Department

100 Edison Park Drive

Gaithersburg, Maryland 20878

and

OFFICER LAURA ANDREALLO
Individually and in her official capacity as
a Montgomery County police officer
Montgomery County Police Department
100 Edison Park Drive

Gaithersburg, Maryland 20878

and.

OFFICER COUTERMANCHE

Individually and in his or her official capacity as
a Montgomery County police officer
Montgomery County Police Department

100 Edison Park Drive

Gaithersburg, Maryland 20878

Defendants.

 

 

COMPLAINT AND JURY DEMAND
COMES NOW the Plaintiff, Aaron Taylor, by and through undersigned counsel, and sues

the above-named Defendants, stating as follows:

Sigs = a
#307 3a UAL IH | ‘dean. 1
Case 8:20-cv-03143-GLS Document3 Filed 10/29/20 Page 3 of 27

INTRODUCTION

i. Cn or about July 26, 2017, Plaintiff Aaron Ifalola Taylor (“Plaintiff’) was walking
out of a Shell gas station when he was approached by a Montgomery County police officer. Despite
Plaintiff having done nothing wrong, the Montgomery County police officer began harassing
Plaintiff, forcing Plaintiff to place his hands on the hood of a running Montgomery County police
cruiser.

2. Plaintiff immediately told the Montgomery County police officer that his hands
were burning, but the officer only pressed Plaintiff's hands more firmly against the hood of the car
in response. Plaintiff was not permitted to remove his hands from the buming hood of the vehicle
until a second Montgomery County police officer arrived and persuaded the first police officer to
permit Plaintiff to remove his hands.

3. Despite having no legal justification and no probable cause, the officers detained
Plaintiff for nearly half an hour. In that time, more Montgomery County police officers arrived on
scene, manhandling, searching, and photographing Plaintiff without Plaintiff's permission.

4, Eventually, after an hour of being illegally detained without justification, one of the
officers informed Plaintiff that they were seeking to rule him out asa shoplifting suspect.

5. After three hours of being illegally detention, Plaintiff was finally released after an
unidentified woman arrived at the scene and ordered the officers to release Plaintiff.

6. Plaintiff told the officers that he would like to file a formal complaint regarding his
treatment by the officers, and one of the officers on scene drove Plaintiff to the police station. At
the station, Plaintiff was not provided the appropriate paperwork, but instead placed into an

interrogation room and informed that he was being held for questioning regarding an armed

robbery.
Case 8:20-cv-03143-GLS Document3 Filed 10/29/20 Page 4 of 27

7. Plaintiff was held for approximately six hours, during which the officers utilized
varied psychologically damaging interrogation techniques despite having no legal justification and
no probable cause for Plaintiff's detention.

8, Plaintiff was finally released after officers executed a search warrant at Plaintiff's
home and found no evidence to connect Plaintiff to the armed robbery.

JURISDICTION AND VENUE

9. This Court has jurisdiction pursuant to Md. Code, Cts. & Jud. Proc., § 6-102, as
Defendants are domiciled in the State of Maryland and/or are organized under the laws of
Maryland and have their principal place of business in the State.

10. Venue is proper in this forum pursuant to Md. Code, Cts. & Jud. Proc., § 6-201 as
the named Defendants carry on their principal place of business in Montgomery County, Maryland,
and all material events occurred in Montgomery County, Maryland.

11. Plaintiff provided notice of his claim on July 24, 2018, via certified mail, return
receipt requested, within one year of the date of the incident which is the subject of this lawsuit,
as required by Md. Code, Cts. & Jud. Proc., § 5-304(b) and (c). All conditions precedent for the
filing of this suit have been satisfied.

PARTIES

12. Plaintiff Aaron Ifalola Taylor (“Plaintiff”) is an adult resident of Maryland.

13. Defendant Montgomery County, Maryland (“Defendant Montgomery County”)
is a municipal corporation organized under the provisions of Art. XI-A of the Maryland
Constitution. At all times relevant herein, Defendant Montgomery County employed the

individual Defendants, Officer Serlo #2908, Detective Paris Capalupo #2086, Officer Washington,
Case 8:20-cv-03143-GLS Document 3 Filed 10/29/20 Page 5 of 27

Officer Fox, Officer Courtemanche, Sergeant McDanunell, and Officer Laura Andreallo, as
Montgomery County police officers and/or as Montgomery County police detectives.

14. Officer Serlo #2908 (“Defendant Serlo”) was employed by Defendant
Montgomery County as a police officer, and at all times relevant hereto was acting in his official
capacity as a Montgomery County police officer.

15. Detective Paris Capalupo #2086 (“Defendant Capalupo”) was employed by
Montgomery County as a police detective, and at all times relevant hereto was acting in his official
capacity as a Montgomery County police detective.

16. Officer Washington (“Defendant Washington”) was employed by Montgomery
County as a police officer or police detective, and at all times relevant hereto was acting in his
official capacity as a Montgomery County police officer or Montgomery County police detective.

17. Officer Fox (“Defendant Fox”) was employed by Montgomery County as a police
officer or police detective, and at all times relevant hereto was acting in his official capacity as a
Montgomery County police officer or Montgomery County police detective.

18. Officer Courtemanche (“Defendant Courtemanche”) was employed by
Montgomery County as a police officer, and at all times relevant hereto was acting in his official
capacity as a Montgomery County police officer.

19. Sergeant McDannell (“Defendant McDannell”) was employed by Montgomery
County as a police officer or police detective, and at all times relevant hereto was acting in his or

her official capacity as a Montgomery County police officer or Montgomery County police

detective.

La
Case 8:20-cv-03143-GLS Document 3 Filed 10/29/20 Page 6 of 27

20. Officer Laura Andreallo (“Defendant Andreallo”) was employed by Montgomery
County as a police officer, and at all times relevant hereto was acting in her official capacity as a
Montgomery County police officer.

FACTS COMMON TO ALL COUNTS

21. On the morning of July 26, 2017, Plaintiff was exiting a Shell gas station at 11150
New Hampshire Avenue, Silver Spring, Maryland 20904, in Montgomery County, Maryland.

22. As Plaintiff exited the gas station, Defendant Serlo approached Plaintiff and
immediately demanded that Plaintiff turn around and place his hands on the hood of running
Montgomery County police cruiser.

23. Plaintiff was taken aback, as he had done nothing wrong and could not fathom why
Defendant Serlo was asking him to place his hands on the hood of the police cruiser. Plaintiff asked
Defendant Serlo for clarification, and refused to place his hands on the vehicle.

24. Without explanation or justification, Defendant Serlo responded to Plaintiff's request
for clarification by grabbing Plaintiff's upper arms and forcing Plaintiffs hands onto the hood of the

police cruiser. The police cruiser was still running, and the hood of the vehicle was scalding hot to

the touch.

25. Plaintiff cried out in pain and told Defendant Serlo that his hands were burning.
Defendant Serlo blatantly ignored Plaintiff, and proceeded to press Plaintiff's hands more firmly into
the hood of the running vehicle. Plaintiff continued to tell Defendant Serlo numerous times that his

hands were burning, but Plaintiff's complaints were completely disregarded.

26. A second officer, Defendant Andreallo, arrived shortly thereafter. Defendant

Andreallo persuaded Defendant Serlo to allow Plaintiff to take his hands off the burning hood of the

police cruiser.
Case 8:20-cv-03143-GLS Document 3 Filed 10/29/20 Page 7 of 27

27. Plaintiff was detained at the Shell gas station by Defendants Serlo and Andreallo,
without justification and without probable cause, for nearly thirty minutes without being told why he
was being detained.

28. During that time, at least seven more officers arrived at the scene, including
Defendants Washington, Fox, Courtemanche, and McDannell. After the officers arrived, Plaintiff was
searched and photographed without Plaintiff's consent, despite the Defendants having no legally
justifiable reason to do so.

29. More than one hour into the unjustified detention of Plaintiff, one of the officers finally
told Plaintiff that the officers were seeking to rule Plaintiff out as a shoplifting suspect. Prior to this
point, Plaintiff had been detained without any explanation.

30. Almost three hours later, a woman, presumably a detective or officer in charge, arrived
at the scene and informed the officers that Plaintiff was not the suspected shoplifter. The woman told
the officers that Plaintiff could be released immediately.

31. The officers never charged Plaintiff with any crime or issued any citation.

32. Plaintiff informed the officers at the scene that he wanted to file a formal complaint
about the treatment he was subjected to, as was his right. One of the officers offered to drive Plaintiff
to the police station, as the police station was not within walking distance and Plaintiff did not have a
car.

33. When Plaintiff arrived at the Montgomery County Police Department station, Plaintiff
was not provided with the requisite paperwork to initiate a formal complaint against the officers.

Instead, Plaintiff was escorted into a room that appeared to be an interrogation room.
Case 8:20-cv-03143-GLS Document3 Filed 10/29/20 Page 8 of 27

34. After Plaintiff was escorted into the room, Defendant Capalupo entered and informed
Plaintiff that Plaintiff was now being held for questioning regarding his suspected involvernent in a
separate armed robbery.

35. Plaintiff was not given the opportunity to consult with an attorney, and was held in
the interrogation room for approximately six hours. During that time, Plaintiff was subjected to
various interrogation tactics aimed at inducing a confession from Plaintiff, including, but not limited
to, turning the temperature down in the room to the point where Plaintiff was shivering for hours,
leaving Plaintiff alone in the room for hours at a time, and escorting Plaintiff in handcuffs when
Plaintiff asked to use the bathroom.

36. These tactics took a psychological toll on Plaintiff. In addition, Plaintiff was both
terrified and frustrated, as this was the second false allegation lodged against him by Defendants.
Plaintiff feared that he would lose his freedom over an act that Plaintiff did not commit.

37. During the time that Plaintiff was detained, Montgomery County police detectives
acquired and executed a search warrant on Plaintiff's home. The detectives found no evidence to
connect Plaintiff to the armed robbery.

38. The application for the warrant, completed by Defendant Capalupo, described the
armed robbery suspect as a heavy-set Black male in his late twenties, with long dreadlocks, who
walked with his feet pointed outwards. These characteristics are not unique, and a significant number
of Montgomery County residents would fit that description.

39. Plaintiff was subsequently released, without even an apology.

40. Following an internal investigation, Defendants Courtemanche and McDannell were

ordered to complete corrective counseling. Defendants Washington and Fox were not reprimanded.
Case 8:20-cv-03143-GLS Document3 Filed 10/29/20 Page 9 of 27

41. Asadirect and proximate result of Defendants’ conduct, Plaintiff has suffered, and
continues to suffer, mental pain and suffering, including, but not limited to, undue emotional
distress, mental anguish, humiliation, embarrassment, loss of respect, loss of society, shame, grief,
anxiety and loss of enjoyment of life. Plaintiff also suffered extreme physical pain and distress as
a result of the officers’ physical manhandling. Plaintiff further suffered, and continues to suffer,
economic damages, including, but not limited to, lost time and wages from work and lost earning
capacity.

42. _ Atall times relevant hereto, the individual Defendants acted under color of State law,
and within the scope of their employment as Montgomery County police officers and/or
Montgomery County police detectives.

43. All the allegations herein, however worded, are pleaded alternatively as acts of
negligence, gross negligence, intent, and/or malice, as determined at trial by the jury in this matter.

COUNT I — AGAINST ALL DEFENDANTS
Maryland Declaration of Rights, Articles 24 and 26 — False Imprisonment

44. Every paragraph not falling under this Count is incorporated herein by reference.

45. Articles 24 and 26 of the Maryland Declaration of Rights protects citizens against
unreasonable search or seizure, including protection against being arrested without probable cause.

46. At all relevant times, the individual Defendants acted under color of State law,
within their capacity and authority as Montgomery County police officers and/or Montgomery
County police detectives.

47, The individual Defendants deprived Plaintiff of his rights under Articles 24 and 26
of the Maryland Declaration of Rights by falsely depriving Plaintiff of his liberty without probable

cause during the detention of Plaintiff at the Shell gas station for over three hours.
Case 8:20-cv-03143-GLS Document 3 Filed 10/29/20 Page 10 of 27

48. The individual Defendants further deprived Plaintiff of his rights under Articles 24
and 26 of the Maryland Declaration of Rights by falsely depriving Plaintiff of his liberty without
probable cause during the detention of Plaintiff in an interrogation room at the Montgomery
County Police Department station for approximately six hours.

49. When the individual Defendants interrogated Plaintiff during Plaintiffs detention
at the Montgomery County Police Department station, using interrogation tactics aimed
specifically at inducing a confession, they had no constitutional basis for doing so, as Plaintiff had
simply been present at the Shell gas station and had done nothing wrong.

50. The interrogation techniques unconstitutionally used by the individual Defendants
included, but were not limited to, turning the temperature down in the room to the point where
Plaintiff was shivering for hours, leaving Plaintiff alone in the room for hours at a time, and escorting

Plaintiff in handcuffs when Plaintiff asked to use the bathroom.

51. Plaintiff was not allowed to leave during the time that he was detained by the
individual Defendants at the Shell gas station, or during the time that he was detained in the
interrogation room at the Montgomery County Police Department station,

52. The individual Defendants’ actions deprived Plaintiff of his liberty to leave the

relevant areas.

53. Plaintiff did not consent to the individual Defendants’ deprivation of Plaintiffs

liberty.
54. The individual Defendants had no legal justification to deprive Plaintiff of his

liberty. The individual Defendants had no probable cause to believe that Plaintiff had committed,

or was about to commit, a crime, and no arrest warrant had been issued for Plaintiff.

10
Case 8:20-cv-03143-GLS Document 3 Filed 10/29/20 Page 11 of 27

55. The individual Defendants were acting under the color of State law, in their
capacity and authority as Montgomery County police officers and/or Montgomery County police
detectives. As such, Defendant Montgomery Couniy is liable for the individual Defendants’
conduct.

56. In the alternative, the individual Defendants’ unconstitutional deprivation of
Plaintiff's liberty without justification or probable cause constitutes gross negligence, and the
individual Defendants are personally liable for their own conduct.

57. Asadirect and proximate result of the individual Defendants’ conduct, Plaintiff has
suffered, and continues to suffer, mental pain and suffering, including, but not limited to, undue
emotional distress, mental anguish, humiliation, embatrassment, loss of respect, loss of society,
shame, grief, anxiety and loss of enjoyment of life.

58. Plaintiffalso suffered extreme physical pain and distress as a result of the officers’
physical manhandling.

59. Plaintiff further suffered, and continues to suffer, economic damages, including,
but not limited to, lost time and wages from work and lost earning capacity.

WHEREFORE, Plaintiff respectfully requests compensatory damages in an amount to be
determined at trial, in excess of $30,000, as well as any available punitive damages, in addition to

costs, expenses, and attorneys’ fees.

COUNT H — AGAINST ALL DEFENDANTS
Fourth Amendment — False Imprisonment

60. Every paragraph not falling under this Count is incorporated herein by reference.
61. The Fourth Amendment of the Constitution of the United States protects citizens
against unreasonable search or seizure, including protection against being imprisoned without

probable cause. These constitutional protections are applied to the states and their political

11
Case 8:20-cv-03143-GLS Document 3 Filed 10/29/20 Page 12 of 27

subdivisions under the Fourteenth Amendment to the Constitution of the United States and 42

U.S.C. § 1983.

62. At all relevant times, the individual Defendants acted under color of State law,
within their capacity and authority as Montgomery County police officers and/or Montgomery
County police detectives.

63. The individual Defendants deprived Plaintiff of his rights under the Fourth
Amendment of the Constitution of the United States by falsely depriving Plaintiff of his liberty
without probable cause during the detention of Plaintiff at the Shell gas station for over three hours.

64. The individual Defendants further deprived Plaintiff of his rights under the Fourth
Amendment of the Constitution of the United States by falsely depriving Plaintiff of his liberty
without probable cause during the detention of Plaintiff in an interrogation room at the
Montgomery County Police Department station for approximately six hours.

65. When the individual Defendants interrogated Plaintiff during Plaintiffs detention
at the Montgomery County Police Department station, using interrogation tactics aimed
specifically at inducing a confession, they had no constitutional basis for doing so, as Plaintiff had
simply been present at the Shell gas station and had done nothing wrong.

66. The interrogation techniques unconstitutionally used by the individual Defendants
included, but were not limited to, turning the temperature down in the room to the point where

Plaintiff was shivering for hours, leaving Plaintiff alone in the room for hours at a time, and escorting

Plaintiff in handcuffs when Plaintiff asked to use the bathroom.

67. Plaintiff was not allowed to leave during the time that he was detained by the
individual Defendants at the Shell gas station, or during the time that he was detained in the

interrogation room at the Montgomery County Police Department station.
Case 8:20-cv-03143-GLS Document 3 Filed 10/29/20 Page 13 of 27

68. The individual Defendants’ actions deprived Plaintiff of his liberty to leave the
relevant areas.

69. _ Plaintiff did not consent to the individual Defendants’ deprivation of Plaintiffs
liberty.

70. The individual Defendants had no legal justification to deprive Plaintiff of his
liberty. The individual Defendants had no probable cause to believe that Plaintiff had committed,
or was about to commit, a crime, and no arrest warrant had been issued for Plaintiff.

71. The individual Defendants’ conduct constituted an utter disregard for the
established and manifest Fourth Amendment rights of Plaintiff, to the point that Plaintiff was
treated as if those rights did not exist, even though the individual Defendants knew, or should have
known, of the existence of those rights. In the alternative, the individual Defendants’ conduct
constituted a knowing and intentional violation of Plaintiff's Fourth Amendment rights.

72.  Asadirect and proximate result of the individual Defendants’ conduct, Plaintiff has
suffered, and continues to suffer, mental pain and suffering, including, but not limited to, undue
emotional distress, mental anguish, humiliation, embarrassment, loss of respect, loss of society,

shame, grief, anxiety and loss of enjoyment of life.

73 Plaintiff also suffered extreme physical pain and distress as a result of the officers’

i .

physical manhandling.

74. Plaintiff further suffered, and continues to suffer, economic damages, including,
but not limited to, lost time and wages from work and lost earning capacity.
WHEREFORE, Plaintiff respectfully requests compensatory damages in an amount to be

determined at trial, in excess of $30,000, as well as any available punitive damages, in addition to

costs, expenses, and attorneys’ fees.
Case 8:20-cv-03143-GLS Document 3 Filed 10/29/20 Page 14 of 27

COUNT Hil — AGAINST ALL DEFENDANTS
¥alse Impriscament

75. Every paragraph not falling under this Count is incorporated herein by reference.
76. Plaintiff has a protected property and liberty interest in his freedom, his ability to
exercise free will and domain over his person, and his ability to be free from unlawful and

excessive police force.

77. The individual Defendants deprived Plaintiff of numerous protected property and
liberty interests.

78. The individual Defendants had no rational reason to believe that there was probable
cause for the deprivation of Plaintiff's liberty, as Plaintiff was simply present at a Shell gas station
and had done nothing wrong to give the individual Defendants probable cause to believe that
Plaintiff had, or was about to, commit a crime.

79. The individual Defendants falsely deprived Plaintiff of his liberty without probable
cause during the detention of Plaintiff at the Shell gas station for over three hours.

80. The individual Defendants further falsely deprived Plaintiff of his liberty without
probable cause during the detention of Plaintiff in an interrogation room at the Montgomery

County Police Department station for approximately six hours.

81. | When the individual Defendants interrogated Plaintiff during Plaintiff's detention
at the Montgomery County Police Department station, using interrogation tactics aimed
specifically at inducing a confession, they had no rational basis for doing so, as Plaintiff had simply
been present at the Shell gas station and had done nothing wrong.

82. The interrogation techniques unconstitutionally used by the individual Defendants

included, but were not limited to, tuming the temperature down in the room to the point where
Case 8:20-cv-03143-GLS Document 3 Filed 10/29/20 Page 15 of 27

Plaintiff was shivering for hours, leaving Plaintiff alone in the room for hours at a time, and escorting
Plaintiff in handcuffs when Plaintiff asked to use the bathroom.

83. Plaintiff was not allowed to leave during the time that he was detained by the
individual Defendants at the Shell gas station, or during the time that he was deiained in the
interrogation room at the Montgomery County Police Department station.

84. The individual Defendants’ actions deprived Plaintiff of his liberty to leave the

relevant areas.

85. Plaintiff did not consent to the individual Defendants’ deprivation of Plaintiff's
liberty.

86. The individual Defendants had no legal justification to deprive Plaintiff of his
liberty. The individual Defendants had no probable cause to believe that Plaintiff had committed,
or was about to commit, a crime, and no arrest warrant had been issued for Plaintiff.

87. The individual Defendants’ deprivation of Plaintiffs liberty was done without
probable cause or warrant, demonstrating ill will, improper motivation, and/or evil motive.

88. Asadirect and proximate result of the individual Defendants’ conduct, Plaintiff has
suffered, and continues to suffer, mental pain and suffering, including, but not limited to, undue
emotional distress, mental anguish, humiliation, embarrassment, loss of respect, loss of society,

shame, grief, anxiety and loss of enjoyment of life.

89. Plaintiff also suffered extreme physical pain and distress as a result of the officers’

physical manhandling.

90. Plaintiff further suffered, and continues to suffer, economic damages, including,

but not limited to, lost time and wages from work and lost earning capacity.
Case 8:20-cv-03143-GLS Document 3 Filed 10/29/20 Page 16 of 27

WHEREFORE, Plaintiff respectfully requests compensatory damages in an arnount to be
determined at trial, in excess of $30,000, as well as any available punitive damages, in addition to

costs, expenses, and attorneys’ fees.

COUNT IV — AGAINST ALL DEFENDANTS
Maryland Declaration of Rights, Articles 24 and 26 — Excessive Force

91. | Every paragraph not falling under this Count is incorporated herein by reference.

92. Articles 24 and 26 of the Maryland Declaration of Rights protects citizens against
unreasonable search or seizure, including protection against excessive force.

93. At all relevant times, the individual Defendants acted under color of State law,

within their capacity and authority as Montgomery County police officers and/or Montgomery

County police detectives.

94, The individual Defendants deprived Plaintiff of his rights under Articles 24 and 26
of the Maryland Declaration of Rights by using excessive force against Plaintiff to further the
individual Defendants’ unconstitutional detention and interrogation of Plaintiff.

95. Defendant Serlo deprived Plaintiff of his rights under Articles 24 and 26 of the
Maryland Declaration of Rights by grabbing Plaintiff’s upper arms, forcing Plaintiff's hands onto
the hood of a running police cruiser, and pressing Plaintiff's hands firmly onto the burning hood

of the vehicle despite Plaintiff's repeated complaints of pain and pleas to remove his hands from

the vehicle.

9. The individual Defendants deprived Plaintiff of his rights under Articles 24 and 26
of the Maryland Declaration of Rights by utilizing psychologically damaging interrogation
techniques without justification, including, but not limited to, tuming the temperature down in the
room to the point where Plaintiff was shivering for hours, leaving Plaintiffalone in the room for hours

at a time, and escorting Plaintiff in handcuffs when Plaintiff asked to use the bathroom.

16
Case 8:20-cv-03143-GLS Document 3 Filed 10/29/20 Page 17 of 27

97. When the individual Defendants detained and interrogated Plaintiff, they had no
constitutional basis for doing so, as Plaintiff had simply been present at a Shell gas station and had
done nothing to give the individual Defendants probable cause to believe that Plaintiff had
committed, or was about to commit, a crime.

98. | Atno time relevant to this action was Plaintiff a threat to the safety of the individual
Defendants, Plaintiff himself, or any other person.

99. Despite the fact that Plaintiff was not a threat to any person’s safety, the fact that
Plaintiff had done nothing to give the individual Defendants probable cause to believe that Plaintiff
had committed, or was about to commit, a crime, and the fact that the individual Defendants had
no right to detain and interrogate Plaintiff, the individual Defendants utilized excessively forceful
policing tactics to detain and interrogate Plaintiff as described above.

100. The individual Defendants acted unreasonably in their conduct towards Plaintiff,
subjecting him to summary punishment and violating his due process rights. Forcefully pressing
an individual’s hands to the burning hot hood of a vehicle, refusing to let the individual remove
his hands despite the burning, and using psychologically damaging interrogation tactics constitutes
excessive and unconstitutional use of force.

101. Plaintiff was not allowed to leave during the time that he was detained by the
individual Defendants at the Shell gas station, or during the time that he was detained in the
interrogation room at the Montgomery County Police Department station.

102. The individual Defendants were acting under the color of State law, in their
capacity and authority as Montgomery County police officers and/or Montgomery County police

detectives. As such, Defendant Montgomery County is liable for the individual Defendants’

conduct.

pet
~
Case 8:20-cv-03143-GLS Document 3 Filed 10/29/20 Page 18 of 27

163. In the alternative, the individual Defendanis’ unconstitutional deprivation of
Plaintiff's liberty without justification or probabie cause constitutes gross negligence, and the
individual Defendants are personally liable for their own conduct.

104. Asadirect and proximate result of the individual Defendants’ conduct, Plaintiff has
suffered, and continues to suffer, mental pain and suffering, including, but not limited to, undue
emotional distress, mental anguish, humiliation, embarrassment, loss of respect, loss of society,
shame, grief, anxiety and loss of enjoyment of life.

105. Plaintiff also suffered extreme physical pain and distress as a result of the officers’
physical manhandling.

106. Plaintiff further suffered, and continues to suffer, economic damages, including,
but not limited to, lost time and wages from work and lost earning capacity.

WHEREFORE, Plaintiff respectfully requests compensatory damages in an amount to be
determined at trial, in excess of $30,000, as well as any available punitive damages, in addition to

costs, expenses, and attorneys’ fees.

COUNT V — AGAINST ALL DEFENDANTS
Fourth Amendment — Excessive Force

107. Every paragraph not falling under this Count is incorporated herein by reference.

108. The Fourth Amendment of the Constitution of the United States protects citizens
against unreasonable search or seizure, including protection against excessive force. These
constitutional protections are applied to the states and their political subdivisions under the
Fourteenth Amendment to the Constitution of the United States and 42 U.S.C, § 1983.

109. At all relevant times, the individual Defendants acted under color of State law,

within their capacity and authority as Montgomery County police officers and/or Montgomery

County police detectives.

18
Case 8:20-cv-03143-GLS Document 3 Filed 10/29/20 Page 19 of 27

110. The individual Defendants deprived Plaintiff of his rights under the Fourth
Amendment of the Constitution of the United States by using excessive force against Plaintiff to
further the individual Defendants’ unconstitutional detention and interrogation of Plaintiff.

111. Defendant Serlo deprived Plaintiff of his rights under the Fourth Amendment of the
Constitution of the United States by grabbing Plaintiff's upper arms, forcing Plaintiff's hands onto
the hood of a running police cruiser, and pressing Plaintiffs hands firmly onto the burning hood
of the vehicle despite Plaintiff's repeated complaints of pain and pleas to remove his hands from
the vehicle.

112. The individual Defendants deprived Plaintiff of his rights under the Fourth
Amendment of the United States by utilizing psychologically damaging interrogation techniques
without justification, including, but not limited to, turning the temperature down in the room to the
point where Plaintiff was shivering for hours, leaving Plaintiff alone in the room for hours at a time,
and escorting Plaintiff in handcuffs when Plaintiff asked to use the bathroom.

113. When the individual Defendants detained and interrogated Plaintiff, they had no
constitutional basis for doing so, as Plaintiff had simply been present at a Shell gas station and had
done nothing to give the individual Defendants probable cause to believe that Plaintiff had

committed, or was about to commit, a crime.

114. Atno time relevant to this action was Plaintiff a threat to the safety of the individual
Defendants, Plaintiff himself, or any other person.

115. Despite the fact that Plaintiff was not a threat to any person’s safety, the fact that
Plaintiff had done nothing to give the individual Defendants probable cause to believe that Plaintiff

had committed, or was about to commit, a crime, and the fact that the individual Defendants had
Case 8:20-cv-03143-GLS Document 3 Filed 10/29/20 Page 20 of 27

no right to detain and interrogate Plaintiff, the individual Defendants utilized excessively forceful
policing tactics to detain and interrogate Plaintiff as described above.

116. The individual Defendants acted unreasonably in their conduct towards Plaintiff,
subjecting him to summary punishment and violating his due process rights. Forcefully pressing
an individual’s hands to the burning hot hood of a vehicle, refusing to let the individual remove
his hands despite the burning, and using psychologically damaging interrogation tactics constitutes
excessive and unconstitutional use of force.

117. Plaintiff was not allowed to leave during the time that he was detained by the
individual Defendants at the Shell gas station, or during the time that he was detained in the
interrogation room at the Montgomery County Police Department station.

118. The individual Defendants’ conduct constituted an utter disregard for the
established and manifest Fourth Amendment rights of Plaintiff, to the point that Plaintiff was
treated as if those rights did not exist, even though the individual Defendants knew, or should have
known, of the existence of those rights. In the alternative, the individual Defendants’ conduct
constituted a knowing and intentional violation of Plaintiff's Fourth Amendment rights.

119. Asa direct and proximate result of the individual Defendants’ conduct, Plaintiff has
suffered, and continues to suffer, mental pain and suffering, including, but not limited to, undue
emotional distress, mental anguish, humiliation, embarrassment, loss of respect, loss of society,
shame, grief, anxiety and loss of enjoyment of life.

120. Plaintiff also suffered extreme physical pain and distress as a result of the officers’
physical manhandling.

121. Plaintiff further suffered, and continues to suffer, economic damages, including,

but not limited to, lost time and wages from work and lost earning capacity.

20
Case 8:20-cv-03143-GLS Document 3 Filed 10/29/20 Page 21 of 27

WHEREFORE, Plaintiff respectfully requests compensatory damages in an amount to be
determined at trial, in excess of $30,000, as well as any available punitive damages, in addition to

costs, expenses, and attorneys’ fees.

COUNT Vi — AGAINST DEFENDANT SERLO
Battery

122. Every paragraph not falling under this Count is incorporated herein by reference.

123. Plaintiff has a protected property and liberty interest in his freedom, his ability to
exercise free will and domain over his person, and his ability to be free from unlawful and
excessive police force.

124. Defendant Serlo deprived Plaintiff of his interest to be free from excessive police
force and battery by grabbing Plaintiff's upper arms, forcing Plaintiff's hands onto the hood of a
running police cruiser, and pressing Plaintiff's hands firmly onto the burning hood of the vehicle
despite Plaintiff's repeated complaints of pain and pleas to remove his hands from the vehicle.

125. Defendant Serlo’s forcible placement of Plaintiff's hands on the burning hood of
the police cruiser, and use of force to ensure that Plaintiff could not remove his hands from the
burning hood of the vehicle, constituted an unpermitted application of trauma on Plaintiff's body.

126. Defendant Serlo had no rational reason to believe that there was any justification
for the excessive use of force against Plaintiff, as Plaintiff was simply present at a Shell gas station
and had done nothing wrong to give Defendant Serlo any reasonable basis to believe that Plaintiff

had, or was about to, commit a crime.

127. Atno time relevant to this action was Plaintiff a threat to the safety of the individual

Defendants, Plaintiff himself, or any other person.

128. Despite the fact that Plaintiff was not a threat to any person’s safety, the fact that

Plaintiff had done nothing to give Defendant Serlo probable cause to believe that Plaintiff had
Case 8:20-cv-03143-GLS Document 3 Filed 10/29/20 Page 22 of 27

committed, or was about to commit, a crime, and the fact that Defendant Serla had no right to
detain and interrogate Plaintiff, Defendant Serlo utilized excessively forceful policing tactics to
detain and interrogate Plaintiff as described above.

129. Plaintiff did not consent to Defendant Serlo’s use of excessive force.

130. Defendant Serlo’s use of excessive force was done without probable cause or
warrant, demonstrating ill will, improper motivation, and/or evil motive.

131. Asadirect and proximate result of the individual Defendants’ conduct, Plaintiffhas
suffered, and continues to suffer, mental pain and suffering, including, but not limited to, undue
emotional distress, mental anguish, humiliation, embarrassment, loss of respect, loss of society,

shame, grief, anxiety and loss of enjoyment of life.

132. Plaintiff also suffered extreme physical pain and distress as a result of the officers’
physical manhandling.

133. Plaintiff further suffered, and continues to suffer, economic damages, including,
but not limited to, lost time and wages from work and lost earning capacity.

WHEREFORE, Plaintiff respectfully requests compensatory damages in an amount to be
determined at trial, in excess of $30,000, as well as any available punitive damages, in addition to

costs, expenses, and attorneys’ fees.

COUNT Vil — AGAINST DEFENDANT MONTGOMERY COUNTY
Negligent Training, Supervision, and Retention

134. Every paragraph not falling under this Count is incorporated herein by reference.
135. Defendant Montgomery County had a duty to ensure Montgomery County Police
Department officers were trained to conduct their law enforcement activities within constitutional

bounds and a duty to discipline and/or fire officers who failed to conduct their law enforcement

activities in an constitutional manner.
Case 8:20-cv-03143-GLS Document 3 Filed 10/29/20 Page 23 of 27

136. Defendant Montgomery County breached its duty to ensure that the individual
Defendants were trained in the state and federal constitutional limits of their police authority,
which led the individual Defendants to believe that they could unconstitutionally detain Plaintiff
for several hours, use excessive force against Plaintiff, and utilize psychologically damaging
interrogation tactics against Plaintiff without justification or probable cause.

137. Defendant Montgomery County breached its duty to discipline officers who violate
the constitutional rights of citizens when Defendant Montgomery County failed to properly
discipline the individual Defendants, only requiring Defendants Courtemanche and McDannell to
complete corrective counseling and failing to discipline the other individual Defendants at all,
despite conducting an internal investigation into the violation of Plaintiff's constitutional rights.

138. As a direct and proximate result of Defendant Montgomery County’s conduct,
Plaintiff has suffered, and continues to suffer, mental pain and suffering, including, but not limited
to, undue emotional distress, mental anguish, humiliation, embarrassment, loss of respect, loss of

society, shame, grief, anxiety and loss of enjoyment of life.

139. Plaintiff also suffered extreme physical pain and distress as a result of the officers’

physical manhandling.

140. Plaintiff further suffered, and continues to suffer, economic damages, including,
but not limited to, lost time and wages from work and lost earning capacity.

WHEREFORE, Plaintiff respectfully requests compensatory damages in an amount to be
determined at trial, in excess of $30,000, as well as any available punitive damages, in addition to

costs, expenses, and attorneys’ fees.

COUNT VII -— AGAINST ALL DEFENDANTS
Gross Negligence

141. Every paragraph not falling under this Count is incorporated herein by reference.
Case 8:20-cv-03143-GLS Document 3 Filed 10/29/20 Page 24 of 27

i42. When the individual Defendants detained Plaintiff, forcibly pressed Plaintiff's
hands into the burning hot hood of a police cruiser, and utilized psychologically damaging
interrogation techniques against Plaintiff, the individual Defendants had no constitutional or
legally valid basis for doing so.

143. When the individual Defendants detained Plaintiff, forcibly pressed Plaintiff's
hands into the burning hot hood of a police cruiser, and utilized psychologically damaging
interrogation techniques against Plaintiff,.the individual Defendants violated Plaintiff's rights
under the Fourth Amendment of the United States Constitution and Articles 24 and 26 of the
Maryland Declaration of Rights.

144. The individual Defendants had a manifest duty to abide by the constitutional limits
of policing.

145. The individual Defendants violated that duty to abide by the constitutional limits of
policing by violating Plaintiff's rights under the Fourth Amendment of the United States
Constitution and Articles 24 and 26 of the Maryland Declaration of Rights.

146. The individual Defendants could not have reasonably believed that they were
within their constitutional authority to seize and use force against Plaintiff on the sole basis that
he had exited a Shell gas station and matched a vague, broad description of a suspect. Accordingly,
the individual Defendants’ seizure of and use of force against Plaintiff constituted an act so utterly
indifferent to the rights of Plaintiff that the individual Defendants acted as if those constitutional
rights did not exist.

147. In the alternative, the individual Defendants seizure and use of force against
Plaintiff on the sole basis that he had exited a Shell gas station and matched a vague, broad

description of a suspect constituted an intentional failure to perform a manifest duty and abide by

24
Case 8:20-cv-03143-GLS Document 3 Filed 10/29/20 Page 25 of 27

the constitutional limits of policing in reckless disregard of the consequences as affecting the life
of another, and evinced a thoughtless disregard of the consequences to Plaintiff’s life without the
exertion of any effort to avoid those consequences.

148. Asadirect and proximate result of the Defendants’ conduct, Plaintiff has suffered,
and continues to suffer, mental pain and suffering, including, but not limited to, undue emotional
distress, mental anguish, humiliation, embarrassment, loss of respect, loss of society, shame, grief,

anxiety and loss of enjoyment of life.

149. Plaintiff also suffered extreme physical pain and distress as a result of the officers’

physical manhandling.

150. Plaintiff further suffered, and continues to suffer, economic damages, including,
but not limited to, lost time and wages from work and lost earning capacity.

WHEREFORE, Plaintiff respectfully requests compensatory damages in an amount to be
determined at trial, in excess of $30,000, as well as any available punitive damages, in addition to

costs, expenses, and attorneys’ fees.

COUNT IX — AGAINST ALL DEFENDANTS
Negligence

151. Every paragraph not falling under this Count is incorporated herein by reference.

152. When the individual Defendants detained Plaintiff, forcibly pressed Plaintiff's
hands into the burning hot hood of a police cruiser, and utilized psychologically damaging
interrogation techniques against Plaintiff, the individual Defendants had no constitutional or
legally valid basis for doing so.

153. When the individual Defendants detained Plaintiff, forcibly pressed Plaintiff's
hands into the buming hot hood of a police cruiser, and utilized psychclogically damaging

interrogation techniques against Plaintiff, the individual Defendants violated Plaintiff's rights
Case 8:20-cv-03143-GLS Document 3 Filed 10/29/20 Page 26 of 27

under the Fourth Amendment of the United States Constitution and Articles 24 and 26 of the
Maryland Declaration of Rights.

154. The individual Defendants had a manifest duty to abide by the constitutional limits
of policing.

155. The individual Defendants violated that duty to abide by the constitutional limits of
policing by violating Plaintiffs rights under the Fourth Amendment of the United States
Constitution and Articles 24 and 26 of the Maryland Declaration of Rights.

156. Asa direct and proximate result of the Defendants’ conduct, Plaintiff has suffered,
and continues to suffer, mental pain and suffering, including, but not limited to, undue emotional
distress, mental anguish, humiliation, embarrassment, loss of respect, loss of society, shame, grief,
anxiety and loss of enjoyment of life.

157. Plaintiff also suffered extreme physical pain and distress as a result of the officers’
physical manhandling.

158. Plaintiff further suffered, and continues to suffer, economic damages, including,
but not limited to, lost time and wages from work and lost earning capacity.

WHEREFORE, Plaintiff respectfully requests compensatory damages in an amount to be

determined at trial, in excess of $30,000, as weil as any available punitive damages, in addition to

costs, expenses, and attorneys’ fees.

JURY DEMAND

Plaintiff demands a jury trial as to all claims so triable.
Case 8:20-cv-03143-GLS Document 3 Filed 10/29/20 Page 27 of 27

Respectfully submitted,

HANSEL LAW, P.C.

COW Houwied MAL
Cary J. Hilnsel (CPF No. 9912150020)
cary@hansellaw.com

Ashton Zylstra (CPF No. 1712140283)
azylstra@hansellaw.com

2514 North Charles Street

Baltimore, MD 21218

Tel: (301) 461-1040

Fax: (443) 451-8606

Counsel for Plaintiff
